911 F.2d 721Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Erwin Donnell BULLOCK, Plaintiff-Appellant,v.Edward C. MORRIS, Deputy Director, Richard A. Young,Regional Administrator, Adjustment CommitteeAppeals Unit, Defendants-Appellees.
    No. 90-7058.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 9, 1990.Decided July 18, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Richard L. Williams, District Judge.  (C/A No. 90-311A-R)
      Erwin Donnell Bullock, appellant pro se.
      Mary Sue Terry, Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      DISSMISSED
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Erwin Donnell Bullock appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    